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UNITED STATES DISTRICT COURT.
NORTHERN DISTRICT OF ILLINOIS

CASE No. 07 C 250
In Re: . a
MDL 1925 — (Case No. 08 CV 2357)
AIR CRASH AT MEDAN, INDONESIA

  
  

This filing rela Gin Be se Nos, 08-C-2357 ¢ U

ON SEPTEMBER 5, 2005 9 08-C-6017, O 70-44

Ppa hmmm Nt geet et me

Judge John F. Grady O8CV23S9
Ss ULATK OF DISMISSAL —
Plaintiffs in (1) Adiputra, et al. v. The Boeing Company, et al., ‘Case No. 07-CV-0250; (2)
Adi, et al. v, The Boeing Company, et_al., Case No. 07-CV-4954; Q) Laksono, et al. v

 

Boeing Company, et ql., Case No. 08-CV-2359, (4) Kusumo, et al. y. The Boeing Company, et
al., Case No. 08-CV-2358, and (5) Dow Brow. Administrator _o the Estate
Murlina, et_al. v. The Boeing Company, et al., Case No. 08-CV-6017 (collectively, the
“Consolidated Plaintiffs”) and Defendants The Boeing Company. (“Boeing”) and United
Technologies Corporation (“UTC”), by and through their undersigned counsel, enter into this
Stipulation of Dismissal (the “Stipulation”), and state the following: |

WHEREAS, on January 16, 2007, plaintiffs in Adiputra, et al. v. The Boeing Company, et
al., Case No. 07-CV-0250, filed a lawsuit in the U.S. District Court.for the Northern District of
Illinois arising out of the September 5, 2005 crash of Mandala Airlines Flight 091, a Boeing 737-
200 aircraft, in Medan, Indonesia (the “Adiputra Action”),

WHEREAS, on February 14, 2007, plaintiffs in Justyantoro, et al. v. The Boeing
Company, et al., Case No. 07-CV-1387, filed a lawsuit in Cook County Circuit Court in |

Chicago, Illinois, which lawsuit was subsequently removed to the ‘U.S. District Court for the

 
 

 

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Northern District of Illinois, arising out of the September 5, 2005 crash of. Mandala Airlines
Flight 091, a Boeing 737-200 aircraft, in Medan, Indonesia (the “Justyantoro Action”);

WHEREAS, on August 28, 2007, plaintiffs in Zu etal. v. The Boeing Company, et al,
Case No. 07-CV-4845, filed a lawsuit in the U.S. District Court for the Northern District of
Illinois, arising out of the September 5, 2005 crash of Mandala Airlines Flight 091, a Boeing
737-200 aircraft, in Medan, Indonesia (the “Zu Action”); | |

WHEREAS, on September 4, 2007, plaintiffs in Adi, et al. v. The Boeing Company, et al.,
Case No. 07-CV-4954, filed a lawsuit in the U.S. District Court for the Northern District of
Illinois, arising out of the September 5, 2005 crash of Mandala Airlines Flight 091, a Boeing
737-200 aircraft, in Medan, Indonesia (the “Adi Action”),

WHEREAS, on September 4, 2007, plaintiffs in Kusumo, et al. v. The Boeing Company,
et al., Case No. 08-CV-2358 (originally Case No. CV-07-05738), filed a lawsuit in the U.S.
District Court for the Central District of California, arising out of the September 5, 2005 crash of
Mandala Airlines Flight 091, a Boeing 737-200 aircraft, in Medan, Indonesia (the “Kusumo
Action”);

WHEREAS, on November 29, 2007, plaintiffs in Laksono, et al.'v. The Boeing Company,
et al., Case No. 08-CV-2359 (originally Case No. 07-1907), filed a lawsuit in the U.S. District
Court for the Western District of Washington, arising out of the September 5, 2005 crash of
Mandala Airlines Flight 091, a Boeing 737-200 aircraft, in Medan, Indonesia (the “Laksono
Action”);

WHEREAS, on September 2, 2008, plaintiffs in Douglas Brown, as Administrator of the

Estate of Aida Murlina, et al. v. The Boeing Company, et al., Case No. 08-CV-6017 (originally

 
 

 

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Case No. 3:08-CV-1325), filed a lawsuit in the U.S. District Court for the District of
Connecticut, arising out of the September 5, 2005 crash of Mandala Airlines Flight 091, a
Boeing 737-200 aircraft, in Medan, Indonesia (the “Brown Action”);

WHEREAS, the Adiputra Action, the Justyantoro Action, the Zu Action, and the Adi
Action were al] assigned, transferred or consolidated before the Henorabie John F. Grady in the
U.S. District Court for the Northern District of Illinois:

WHEREAS, on April 10, 2008, the United States Judicial Panel on Multi-District
Litigation entered an order, pursuant to 28 U.S.C. § 1407, transferring the Kusumo Action and
the Laksono Action for coordinated and consolidated pre-trial proceedings to the Honorable John
F. Grady in the U.S. District Court for the Northern District of Illinois; and

WHEREAS, on October 23, 2008, the United States Judicial. Panel on Multi-District
Litigation entered an order, pursuant to 28 U.S.C. § 1407, transferring the Brown Action for
coordinated and consolidated pre-trial proceedings to the Honorable John F. Grady in the U.S.
District Court for the Northern District of IHinois; and |

WHEREAS, Boeing and UTC have filed Defendants’ Amended Joint Motion to Dismiss
on the Grounds of Forum Non Conveniens (Doc. 68], which seeks dismissal of all of the actions
referenced above on the grounds of forum non conveniens:

IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:

l. The Consolidated Plaintiffs hereby agree to the dismissal of the Adiputra Action, |
the Adi Action, the Kusumo Action, the Laksono Action, and the Brown Action without prejudice
on the grounds of forum non conveniens. The Plaintiffs in the Justyantoro and Zu actions do not

stipulate to the dismissal of their actions on the grounds of yorum .non conveniens and their
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actions will remain pending in the United States District Court for the Northern District of
Ihinois unless otherwise ordered by the Court.

2. As a condition of such dismissal, Boeing and UTC agree to accept service of any
complaints re-filed in Indonesia by any of the Consolidated Plaintiffs within 180 days after entry
of this Stipulation of Dismissal by the Court, by service of such complaint by certified mail on
the undersigned counsel for Boeing and UTC or such other counsel or person they wish to _
specifically designate.

3. As a condition of such dismissal, Boeing and UTC consent to the exercise of
jurisdiction over each of them by an Indonesian court, including specifically the Central District

Court (PN Jakarta Pusat) in Jakarta, Indonesia, for any of the actions originally brought in the

 

Adiputra, Adi, Laskono, Kusumo, ot Brown actions and that are subsequently re-filed in
Indonesia by any of the Consolidated Plaintiffs within 180 days after entry of this Stipulation of
Dismissal by the Court (hereafter "re-filed action(s)").

4, As a condition of such dismissal, Boeing and UTC each agree, with respect to any
re-filed action in Indonesia by any of the Consolidated Plaintiffs within 180 ‘days after entry of
this Stipulation of Dismissal by the Court, to waive any statute of limitations defense and any
other defense based on the grounds that the Consolidated Plaintiffs’. claims are barred due to the
passage of time, delay or any other time limitations.

5. As a condition of such dismissal, Boeing agrees to pay, or cause to be paid on
Boeing’s behalf, any final, post-appeal money judgment awarded against Boeing in any re-filed
actions.

6. As 4 condition of such dismissal, UTC agrees to pay, or cause to be paid on
 

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UTC’s behalf, any final, post-appeal money judgment awarded against UTC in any re-filed.

actions.

7. As a condition of such dismissal, Boeing and UTC each agree to make available,
in any re-filed action, (a) any physical, documentary or other evidence in its possession, custody
or control, and (b) any employee, agent or other witness in its control, that the Indonesian court
deems relevant in any re-filed action and orders Boeing or UTC to produce. Boeing and UTC
will produce documentary evidence or testimony in the form ordered by the Indonesian court.
As a condition of such dismissal, Boeing and UTC agree to have any English-language
documents or other evidence in their respective possession, custody, or control that the
Indonesian court orders them to produce translated into the Bahasa Indonesian language as
required for such evidence to be filed with the Indonesian court or offered as evidence at trial in
Indonesia.

8. If any of the above conditions are not complied with by Boeing or UTC, the
affected Consolidated Plaintift(s) shall have the right to move to reinstate this action before this
Court as against the non-complying party, provided such motion for reinstatement is filed within
sixty (60) days of the alleged violation of the condition.

9. If the Consolidated Plaintiffs initiate re-filed actions in an Indonesian court, they
agree to do so in good faith and with the intent that the Indonesian court will hear the merits of
their claims against Boeing and UTC. The Consolidated Plaintiffs agree that they will not
directly or indirectly assert or otherwise seek a ruling or other determination from an Indonesian
court that an Indonesian Court either cannot or should not address the merits of the re-filed

actions because the court lacks jurisdiction over the subject matter of the lawsuit or the parties,
 

 

 

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because the re-filed actions are time-barred in Indonesia, or because some other procedural
defense bars them from asserting their re-filed actions. If, despite the good faith efforts of the
Consolidated Plaintiffs, Boeing, and UTC to bring the merits of the re-filed actions before an
Indonesian court, the Indonesian court refuses to accept the . re-filed actions, the affected
Consolidated Plaintiff(s) shall have the right to move to reinstate this action before this Court,
subject to this Court's determination that the Consolidated Plaintiffs acted in Indonesia in ood
faith, the Indonesian court order is entitled to recognition, and that al] parties complied with the
terms and conditions in this Stipulated Dismissal. In such a case, the Consolidated Plaintiffs
must move for reinstatement within sixty (60) days of such dismissal by the Indonesian court.

10. Nothing in this Stipulation is intended to prevent Boeing and UTC from raising
before an Indonesian court (and obtaining a ruling thereon) the defense of release based on any -
settlement made by or on behalf of any Consolidated Plaintiff for claims arising out of the crash
of Mandala Flight 091 on September 5, 2005.

il. | The parties to this Stipulation further stipulate that each party shall bear its own

attorneys’ fees and costs incurred in the above-captioned actions.

QUALGOr Steeulsrele. Date: “2 - 30 0-08

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SO ORDERED: ; Minin ban 2S, ROK

JOH F. G Y
D STATES DISTRICT JUDGE
